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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE


 CBV, INC.,

                Plaintiff

        v.                                             C.A. No. 1:21-cv-01456-MN

 CHANBOND, LLC,

                Defendant

        and

 DIERDRE LEANE and IPNAV, LLC,

                Defendants.


                              SCHEDULING ORDER [NON-PATENT]

       This _______ day of _________________, 2022, the Court having conducted an initial

Rule 16(b) scheduling conference pursuant to Local Rule 16.1(b), and the parties having determined

after discussion that the matter cannot be resolved at this juncture by settlement, voluntary mediation,

or binding arbitration;

       IT IS ORDERED that:

       1.      Rule 26(a)(1) Initial Disclosures and E-Discovery Default Standard. The parties shall

make their initial disclosures pursuant to Federal Rule of Civil Procedure 26(a)(1) within five (5) days

from the date the Court enters this Order. If they have not already done so, the parties are to review

the Court's Default Standard for Discovery, Including Discovery of Electronically Stored Information

("ESI"), which is posted at http://www.ded.uscourts.gov (see Other Resources, Default Standard for

Discovery) and is incorporated herein by reference.



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       2.       Application to Court for Protective Order. Should counsel find it will be necessary to

apply to the Court for a protective order specifying terms and conditions for the disclosure of

confidential information, counsel should confer and attempt to reach an agreement on a proposed form

of order and submit it to the Court within five (5) days from the date the Court enters this Order.

Should counsel be unable to reach an agreement on a proposed form of order, counsel must follow the

provisions of Paragraph 7(g) below.

       Any proposed protective order must include the following paragraph:

                Other Proceedings. By entering this order and limiting the disclosure of
                information in this case, the Court does not intend to preclude another
                court from finding that information may be relevant and subject to
                disclosure in another case. Any person or party subject to this order who
                becomes subject to a motion to disclose another party's information
                designated "confidential" [the parties should list any other level of
                designation, such as "highly confidential," which may be provided for in
                the protective order] pursuant to this order shall promptly notify that party
                of the motion so that the party may have an opportunity to appear and be
                heard on whether that information should be disclosed.

       3.       Papers Filed Under Seal. In accordance with section G of the Revised Administrative

Procedures Governing Filing and Service by Electronic Means, a redacted version of any sealed

document shall be filed electronically within seven (7) days of the filing of the sealed document.

       4.       Courtesy Copies. The parties shall provide to the Court two (2) courtesy copies of all

briefs and any other document filed in support of any briefs (i.e., appendices, exhibits, declarations,

affidavits etc.). This provision also applies to papers filed under seal. All courtesy copies shall be

double-sided.

       5.       ADR Process. This matter is referred to a magistrate judge to explore the possibility of

alternative dispute resolution.




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       6.        [Plaintiff’s Proposal: Limited Discovery Relating to Validity of the Advisory

Services Agreement. Unless otherwise ordered by the Court or agreed to by parties, the limitations

on discovery set forth in the Federal Rules shall be strictly observed.

                 (a)    Discovery Cut Off. All discovery relating to the validity of the Advisory

Services Agreement shall be initiated so that it will be completed on or before August 26, 2022.

                 (b)    Cross-Use of Discovery. The parties hereby agree that any discovery taken

in the arbitration referenced in the Complaint shall be deemed to have been taken in this action,

and Defendants shall expeditiously provide Plaintiff with copies of any discovery requests, written

discovery responses, documents, and deposition transcripts exchanged or taken in that arbitration.

                 (c)    Document Production.        Document production shall be substantially

complete by August 19, 2022.

                 (d)    Requests for Admission. Absent good cause, a maximum of five (5)

requests for admission relating to the validity of the Advisory Services Agreement are permitted

for each side.

                 (e)    Interrogatories.

                        i.     Absent good cause, a maximum of five (5) interrogatories, including

contention interrogatories, relating to the validity of the Advisory Services Agreement are

permitted for each side.

                        ii.    The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention

interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy
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of all interrogatory answers shall be judged by the level of detail each party provides (i.e., the more

detail a party provides, the more detail a party shall receive).

               (f)     Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited

to a total of Ten (10) hours of taking testimony by deposition upon oral examination relating to

the validity of the Advisory Services Agreement.

       7.      All Remaining Discovery. Unless otherwise ordered by the Court or agreed to by

parties, the limitations on discovery set forth in the Federal Rules shall be strictly observed.

               (a)     Discovery Cut Off. All discovery in this case shall be initiated so that it

will be completed on or before January 20, 2023.

               (b)     Cross-Use of Discovery. The parties hereby agree that any discovery taken

in the arbitration referenced in the Complaint shall be deemed to have been taken in this action,

and Defendants shall expeditiously provide Plaintiff with copies of any discovery requests, written

discovery responses, documents, and deposition transcripts exchanged or taken in that arbitration.

               (c)     Document Production.           Document production shall be substantially

complete by December 2, 2022.

               (d)     Requests for Admission. Absent good cause, a maximum of Twenty (20)

requests for admission are permitted for each side.

               (e)     Interrogatories.

                       i.      Absent good cause, a maximum of Twenty (20) interrogatories,

including contention interrogatories, are permitted for each side.

                       ii.     The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention



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interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy

of all interrogatory answers shall be judged by the level of detail each party provides (i.e., the more

detail a party provides, the more detail a party shall receive).

               (f)     Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited

to a total of Twenty-Four (24) hours of taking testimony by deposition upon oral examination.

                       ii.     Location of Depositions.      Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

required, upon request, to submit to a deposition at a place designated within this district.

Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

action in this Court for the purpose of this provision.

               (g)     Disclosure of Expert Testimony.

                       i.      Identification of Experts. The Parties shall disclose the identity of

any proposed affirmative expert they intend to use on a given subject matter, regardless of which

party has the initial burden of proof on that subject matter, on December 21, 2022. The disclosure

shall include the identity and CV of the expert, for conflicts purposes, and a general description of

the intended subject matter of the expert’s report. The identity and CV of any rebuttal expert shall

be disclosed on January 20, 2022.

                       ii.     Expert Reports. For the party who has the initial burden of proof on

the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

testimony is due on or before February 10, 2023. The supplemental disclosure to contradict or

rebut evidence on the same matter identified by another party is due on or before March 10, 2023.



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Reply expert reports from the party with the initial burden of proof are due on or before March

31, 2023. No other expert reports will be permitted without either the consent of all parties or

leave of the Court. Along with the submissions of the expert reports, the parties shall advise of

the dates and times of their experts' availability for deposition.

                       iii.    Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than fourteen (14) days after the close of expert discovery,

unless otherwise ordered by the Court. Briefing will be presented pursuant to the Court’s Local

Rules.

                       iv.     Expert Discovery Cut Off. All expert discovery in this case shall be

initiated so that it will be completed on or before May 30, 2023. ]

[Defendants’ Proposal:         Defendants oppose bifurcation of discovery with respect to

limited, early discovery related to validity of the Advisory Services Agreement, oppose the

scheduling order dictating how the parties are to allocate their discovery resources in the

event of bifurcation, and CBV’s proposed deviation from the discovery limits the parties

agreed to when they submitted their prior proposed scheduling order. Defendants’ proposed

schedule is set forth below:

               (a)     Discovery Cut Off. All discovery in this case shall be initiated so that it

will be completed on or before November 21, 2022.

               (b)     Cross-Use of Discovery. The parties hereby agree that any discovery taken

in the arbitration referenced in the Complaint shall be deemed to have been taken in this action,




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and Defendants shall expeditiously provide Plaintiff with copies of any discovery requests, written

discovery responses, documents, and deposition transcripts exchanged or taken in that arbitration.

               (c)     Document Production.           Document production shall be substantially

complete by October 3, 2022.

               (d)     Requests for Admission. Absent good cause, a maximum of Twenty (20)

requests for admission are permitted for each side.

               (e)     Interrogatories.

                       i.      Absent good cause, a maximum of Twenty (20) interrogatories,

including contention interrogatories, are permitted for each side.

                       ii.     The Court encourages the parties to serve and respond to contention

interrogatories early in the case. In the absence of agreement among the parties, contention

interrogatories, if filed, shall first be addressed by the party with the burden of proof. The adequacy

of all interrogatory answers shall be judged by the level of detail each party provides (i.e., the more

detail a party provides, the more detail a party shall receive).

               (f)     Depositions.

                       i.      Limitation on Hours for Deposition Discovery. Each side is limited

to a total of Thirty-Five (35) hours of taking testimony by deposition upon oral examination.

                       ii.     Location of Depositions.       Any party or representative (officer,

director, or managing agent) of a party filing a civil action in this district court must ordinarily be

required, upon request, to submit to a deposition at a place designated within this district.

Exceptions to this general rule may be made by order of the Court. A defendant who becomes a

counterclaimant, cross-claimant, or third-party plaintiff shall be considered as having filed an

action in this Court for the purpose of this provision.



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               (g)     Disclosure of Expert Testimony.

                       i.      Identification of Experts. The Parties shall disclose the identity of

any proposed affirmative expert they intend to use on a given subject matter, regardless of which

party has the initial burden of proof on that subject matter, on October 21, 2022. The disclosure

shall include the identity and CV of the expert, for conflicts purposes, and a general description of

the intended subject matter of the expert’s report. The identity and CV of any rebuttal expert shall

be disclosed on November 20, 2022.

                       ii.     Expert Reports. For the party who has the initial burden of proof on

the subject matter, the initial Federal Rule of Civil Procedure 26(a)(2) disclosure of expert

testimony is due on or before December 21, 2022. The supplemental disclosure to contradict or

rebut evidence on the same matter identified by another party is due on or before January 20,

2023. Reply expert reports from the party with the initial burden of proof are due on or before

February 3, 2023. No other expert reports will be permitted without either the consent of all

parties or leave of the Court. Along with the submissions of the expert reports, the parties shall

advise of the dates and times of their experts' availability for deposition.

                       iii.    Objections to Expert Testimony. To the extent any objection to

expert testimony is made pursuant to the principles announced in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), as incorporated in Federal Rule of Evidence 702, it

shall be made by motion no later than fourteen (14) days after the close of expert discovery,

unless otherwise ordered by the Court. Briefing will be presented pursuant to the Court’s Local

Rules.

                       iv.     Expert Discovery Cut Off. All expert discovery in this case shall be

initiated so that it will be completed on or before March 20, 2023. ]



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                (h)     Discovery Matters and Disputes Relating to Protective Orders.

                        i.      Any discovery motion filed without first complying with the

following procedures will be denied without prejudice to renew pursuant to these procedures.

                        ii.     Should counsel find, after a reasonable effort pursuant to Local

Rule 7.1.1 that they are unable to resolve a discovery matter or a dispute relating to a protective

order, the parties involved in the discovery matter or protective order dispute shall contact the

Court's Judicial Administrator to schedule an argument.

                        iii.    On a date to be set by separate order, generally not less than four (4)

days prior to the conference, the party seeking relief shall file with the Court a letter, not to exceed

three (3) pages, outlining the issues in dispute and its position on those issues. On a date to be set

by separate order, but generally not less than three (3) days prior to the conference, any party

opposing the application for relief may file a letter, not to exceed three (3) pages, outlining that

party's reasons for its opposition.

                        iv.     The parties shall provide to the Court two (2) courtesy copies of its

discovery letter and any other document filed in support of any letter (i.e., appendices, exhibits,

declarations, affidavits etc.). This provision also applies to papers filed under seal. All courtesy

copies shall be double-sided.

                        v.      Should the Court find further briefing necessary upon conclusion of

the conference, the Court will order it. Alternatively, the Court may choose to resolve the dispute

prior to the conference and will, in that event, cancel the conference.




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        8.      Motions to Amend / Motions to Strike.

                (a)     Any motion to amend (including a motion for leave to amend) a pleading

 or any motion to strike any pleading or other document shall be made pursuant to the discovery

 dispute procedure set forth in Paragraph 7(g) above.

                (b)     Any such motion shall attach the proposed amended pleading as well as a

 "redline" comparison to the prior pleading or attach the document to be stricken.

        9.      Case Dispositive Motions.

                (a)     Case dispositive motions relating to the validity of the Advisory Services

 Agreement, an opening brief, and affidavits, if any, in support of the motion shall be served and

 filed on or before September 16, 2022.

                (b)     All other case dispositive motions not contemplated in Paragraph 9(a), an

 opening brief, and affidavits, if any, in support of the motion shall be served and filed on or before

 [Plaintiff’s Proposal: July 28, 2023; Defendants’ Proposal: December 20, 2022]. Briefing will

 be presented pursuant to the Court’s Local Rules. No case dispositive motion under Rule 56 with

 respect to this Paragraph 9(b) may be filed more than ten (10) days before the above date without

 leave of the Court.

                (c)     Concise Statement of Facts Requirement.          Any motion for summary

 judgment shall be accompanied by a separate concise statement, not to exceed six (6) pages, which

 details each material fact which the moving party contends is essential for the Court’s resolution

 of the summary judgment motion (not the entire case) and as to which the moving party contends

 there is no genuine issue to be tried. Each fact shall be set forth in a separate numbered paragraph

 and shall be supported by specific citation(s) to the record.




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        Any party opposing the motion shall include with its opposing papers a response to the

 moving party’s concise statement, not to exceed six (6) pages, which admits or disputes the facts

 set forth in the moving party’s concise statement on a paragraph-by-paragraph basis. To the extent

 a fact is disputed, the basis of the dispute shall be supported by specific citation(s) to the record.

 Failure to respond to a fact presented in the moving party’s concise statement of facts shall indicate

 that fact is not in dispute for purposes of summary judgment. The party opposing the motion may

 also include with its opposing papers a separate concise statement, not to exceed four (4) pages,

 which sets forth material facts as to which the opposing party contends there is a genuine issue to

 be tried. Each fact asserted by the opposing party shall also be set forth in a separate numbered

 paragraph and shall be supported by specific citation(s) to the record.

        The moving party shall include with its reply papers a response to the opposing party's

 concise statement of facts, not to exceed four (4) pages, on a paragraph-by-paragraph basis. Failure

 to respond to a fact presented in the opposing party’s concise statement of facts shall indicate that

 fact remains in dispute for purposes of summary judgment.

        10.     Applications by Motion. Except as otherwise specified herein, any application to

 the Court shall be by written motion. Any non-dispositive motion should contain the statement

 required by Local Rule 7.1.1.

        11.     Motions in Limine. Motions in limine shall not be separately filed. All in limine

 requests and responses thereto shall be set forth in the proposed pretrial order. Each party shall be

 limited to three (3) in limine requests, unless otherwise permitted by the Court. The in limine

 request and any response shall contain the authorities relied upon; each in limine request may be

 supported by a maximum of three (3) pages of argument, may be opposed by a maximum of three

 (3) pages of argument, and the party making the in limine request may add a maximum of one (1)



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 additional page in reply in support of its request. If more than one party is supporting or opposing

 an in limine request, such support or opposition shall be combined in a single three (3) page

 submission (and, if the moving party, a single one (1) page reply), unless otherwise ordered by the

 Court. No separate briefing shall be submitted on in limine requests, unless otherwise permitted

 by the Court.

        12.      Pretrial   Conference.      On     [Plaintiff’s     Proposal:   November      ____,

 2023/Defendants’ Proposal: April ___, 2023], the Court will hold a pretrial conference in Court

 with counsel beginning at _____. The parties shall file with the Court the joint proposed final

 pretrial order in compliance with Local Rule 16.3(c) and the Court's Preferences and Procedures

 for Civil Cases not later than seven (7) days before the pretrial conference. Unless otherwise

 ordered by the Court, the parties shall comply with the timeframes set forth in Local

 Rule 16.3(d)(1)-(3) for the preparation of the joint proposed final pretrial order. The Court will

 advise the parties at or before the above-scheduled pretrial conference whether an additional

 pretrial conference will be necessary.

        The parties shall provide the Court two (2) double-sided courtesy copies of the joint

 proposed final pretrial order and all attachments. The proposed final pretrial order shall contain a

 table of contents.

        13.      Trial. This matter is scheduled for a 3 day bench trial beginning at 9:30 a.m. on

 [Plaintiff’s Proposal: December _______, 2023/Defenants’ Proposal: May ___, 2023], with the

 subsequent trial days beginning at 9:00 a.m. The trial will be timed, as counsel will be allocated a

 total number of hours in which to present their respective cases.




                                                          The Honorable Maryellen Noreika
                                                             United States District Judge

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                       Counsel Shall Provide a Chart of All Relevant Deadlines

                 EVENT                     PLAINTIFF’S PROPOSED              DEFENDANT’S
                                                DEADLINE                  PROPOSED DEADLINE
                                       Five (5) days after entry of Same
   Application for Protective Order
                                       Scheduling Order

   Rule 26(a)(1) Initial Disclosures   Five (5) days after entry of Same
                                       Scheduling Order

   Phase 1 (Validity of ASA) August 26, 2022                            N/A
   Discovery Cut Off

   Phase 1 Document Production August 19, 2022                          N/A
   Substantial Completion

   Phase 2 Discovery Cutoff            January 20, 2023                 November 21, 2022

   Phase 2 Document Production December 2, 2022                         October 3, 2022
   Substantial Completion

   Identification    of    Affirmative December 21, 2022                October 21, 2022
   Experts

   Identification of Rebuttal Experts January 20, 2022                  November 20, 2022

   Plaintiff’s Expert Report           February 10, 2023                December 21, 2022

   Defendants’      Rebuttal   Expert March 10, 2023                    January 20, 2023
   Report

   Plaintiff’s Reply Expert Report     March 31, 2023                   February 3, 2023

   Expert Discovery Cut Off            May 30, 2023                     March 20, 2023
                                       Fourteen (14) days after the     Same
   Objections to Expert Testimony
                                       close of expert discovery

   Case dispositive motions relating September 16, 2022                 N/A
   to the validity of the Advisory
   Services Agreement

                           dispositive July 28, 2023                    December 20, 2022
   All other        case
   motions
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   Pretrial Order and Motions in Seven (7) days before the Same
                                 Pretrial Conference
   Limine

   Pretrial Conference         November ___, 2023         April ____, 2023

   Trial                       December ___, 2023         May _____, 2023




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